                   Case
                Case     20-3142, Document
                     1:20-cv-05770-JMF     21, 10/16/2020,
                                        Document           2953772,
                                                   181 Filed        Page1
                                                             10/16/20 Pageof 12 of 2N.Y.S.D. Case #
                                                                                    20-cv-5770(JMF)



                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      16th day of October, two thousand twenty.

      Before:     Raymond J. Lohier, Jr.,
                        Circuit Judge.
      ________________________________

       State of New York, State of Colorado, State of       ORDER                               Oct 16 2020
       Connecticut, State of Delaware, District of
       Columbia, State of Hawai'i, State of Illinois,       Docket No. 20-3142
       State of Maryland, Commonwealth of
       Massachusetts, State of Michigan, State of
       Minnesota, State of Nevada, State of New
       Jersey, State of New Mexico, State of North
       Carolina, State of Oregon, Commonwealth of
       Pennsylvania, State of Rhode Island, State of
       Vermont, Commonwealth of Virginia, State of
       Washington, City of Central Falls, City of
       Chicago, City of Columbus, City of New York,
       City of Philadelphia, City of Phoenix, City of
       Pittsburgh, City of Providence, City and County
       of San Francisco, California, City of Seattle,
       Washington, County of Cameron, County of El
       Paso, County of Hidalgo, County of Monterey,
       United States Conference of Mayors, State of
       Maine, State of Wisconsin, Howard County,
       New York Immigration Coalition, CASA de
       Maryland, Inc., American-Arab Anti-
       Discrimination Committee, ADC Research
       Institute, Make the Road New York, FIEL
       Houston Inc.,

                    Plaintiff - Appellees,

       v.

       Donald J. Trump, United States Department of
       Commerce, Wilbur L. Ross, United States
       Census Bureau, Steven Dillingham, in his
       official capacity as Director of the United States




CERTIFIED COPY ISSUED ON 10/16/2020
            Case
         Case     20-3142, Document
              1:20-cv-05770-JMF     21, 10/16/2020,
                                 Document           2953772,
                                            181 Filed        Page2
                                                      10/16/20 Pageof 22 of 2




 Census Bureau,

           Defendants - Appellants.
 ________________________________

        The Government has appealed to this Court and to the Supreme Court to challenge the
judgment and permanent injunction issued on September 10, 2020 by the three-judge district
court. The Government now requests that the Court hold this appeal in abeyance pending the
Supreme Court’s resolution of New York v. Trump, Supreme Court Docket No. 20-366. Both
sides agree that this appeal should be held in abeyance.

        IT IS HEREBY ORDERED that the motion is GRANTED. If the Supreme Court
determines that this Court is the appropriate forum for appellate review of the district court’s
judgment and permanent injunction, the parties shall immediately alert this Court.


                                                      For the Court:
                                                      Catherine O’Hagan Wolfe,
                                                      Clerk of Court
